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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION


AARON L. THORN                                                            PLAINTIFF

v.                                          CIVIL ACTION NO. 2:17-CV-74-KS-WC

THE CITY OF MONTGOMERY, et al.                                         DEFENDANTS



                                           ORDER

      The parties having reached a settlement in this matter, the Court grants

Plaintiff’s Motion for Voluntary Dismissal [35]. All of Plaintiff’s claims are dismissed

with prejudice, and this case is closed.

      SO ORDERED AND ADJUDGED this 17th day of January, 2019.

                                                     _______/s/__Keith Starrett________
                                                                   KEITH STARRETT
                                                   UNITED STATES DISTRICT JUDGE
